Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 1 of 8 PageID #: 93




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

KATHY MCCARTER f/k/a KATHY                            )
COFFMAN,                                              )
                                                      )       Case No. 1:14-cv-01372-JMS-MJD
       Plaintiff,                                     )
                                                      )
 v.                                                   )       FIRST AMENDED COMPLAINT
                                                      )
CREDIT BUSINESS SERVICES, INC. and                    )
COLLECTION BUREAU OF FT. WALTON                       )
BEACH, INC.,                                          )
                                                      )       JURY DEMANDED
       Defendants.                                    )




       Now comes the Plaintiff, KATHY MCCARTER f/k/a KATHY COFFMAN, by and

through her attorneys, and for her Complaint against the Defendants, CREDIT BUSINESS

SERVICES, INC. and COLLECTION BUREAU OF FT. WALTON BEACH, INC., Plaintiff

alleges and states as follows:

                                 PRELIMINARY STATEMENT

       1.      This is an action for damages for violations of the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337 and 1367, and 15

U.S.C. § 1692k(d). This jurisdiction includes supplemental jurisdiction with respect to pendent

state law claims.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to this claim occurred in this District.
Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 2 of 8 PageID #: 94




                                            PARTIES

       4.      Plaintiff is an individual who was at all relevant times residing in Greenfield,

Indiana.

       5.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as she is a natural

person allegedly obligated to pay a debt.

       6.      At all relevant times, Defendants acted as “debt collectors” within the meaning of

15 U.S.C. § 1692a(6), in that they held themselves out to be companies collecting a consumer

debt allegedly owed by Plaintiff.

       7.      The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of a consumer to pay money arising out of a

transaction in which the money, property, insurance and/or services which are the subject of the

transaction were primarily for personal, family and/or household purposes.

       8.      On information and belief, Defendants are corporations of the State of Florida,

which are not licensed to do business in Indiana, and which have their principal place of business

in Fort Walton Beach, Florida.

                            FACTS COMMON TO ALL COUNTS

       9.      On or about July 21, 2014, Plaintiff communicated with an employee, agent

and/or representative of one of both Defendants, who was attempting to collect the

aforementioned alleged debt.

       10.     During   said     communication,   Plaintiff   informed    Defendant’s/Defendants’

employee, agent and/or representative that she had retained the services of a law firm to file for

bankruptcy protection, and provided the law firm’s contact information.
Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 3 of 8 PageID #: 95




       11.     Defendant’s/Defendants’ employee, agent and/or representative responded by

stating to Plaintiff that she could not file for bankruptcy protection as to the alleged debt

Defendant was attempting to collect.

       12.     Defendant’s/Defendants’ employee, agent and/or representative also threatened

Plaintiff that she could be arrested for not paying the alleged debt.

       13.     Defendant’s/Defendants’       employee(s),     agent(s)   and/or   representative(s)

communicated with Plaintiff under the names “Safecheck” and/or “C.B. Services,” rather than

under the Defendant’s actual corporate name.

       14.     In its attempts to collect the alleged debt as outlined above, one or both

Defendants damaged Plaintiff and violated the FDCPA.

       15.     As a result of Defendant’s/Defendants’ actions as outlined above, Plaintiff has

suffered and continues to suffer humiliation, embarrassment, stress, aggravation, emotional

distress and mental anguish.

                                             COUNT I

       16.     Plaintiff incorporates all of the allegations and statements made above as if

reiterated herein.

       17.     One or both Defendants violated 15 U.S.C. § 1692d by engaging in conduct the

natural consequence of which was to harass, oppress and/or abuse Plaintiff in connection with

the collection of the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendants for Plaintiff’s actual damages suffered as a

                       direct and proximate result of either Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);
Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 4 of 8 PageID #: 96




               b.     Judgment against Defendants for $1,000 in statutory damages for either

                      Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                      §1692k(a)(2)(A);

               c.     Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees and

                      costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT II

       18.     Plaintiff incorporates all of the allegations and statements made above as if

reiterated herein.

       19.     One or both Defendants violated 15 U.S.C. § 1692e by using a false, deceptive

and/or misleading representation or means in connection with the collection of the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

               a.     Judgment against Defendants for Plaintiff’s actual damages suffered as a

                      direct and proximate result of either Defendant’s violations of the FDCPA,

                      pursuant to 15 U.S.C. §1692k(a)(1);

               b.     Judgment against Defendants for $1,000 in statutory damages for either

                      Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                      §1692k(a)(2)(A);

               c.     Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees and

                      costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.     Any other legal and/or equitable relief as the Court deems appropriate.
Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 5 of 8 PageID #: 97




                                           COUNT III

       20.     Plaintiff incorporates all of the allegations and statements made above as if

reiterated herein.

       21.     One or both Defendants violated 15 U.S.C. § 1692e(4) by representing or

implying that nonpayment of the alleged debt would result in the arrest or imprisonment of

Plaintiff, where such action was unlawful and/or Defendant not intend to take such action.

       WHEREFORE, Plaintiff prays for the following relief:

               a.     Judgment against Defendants for Plaintiff’s actual damages suffered as a

                      direct and proximate result of either Defendant’s violations of the FDCPA,

                      pursuant to 15 U.S.C. §1692k(a)(1);

               b.     Judgment against Defendants for $1,000 in statutory damages for either

                      Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                      §1692k(a)(2)(A);

               c.     Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees and

                      costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT IV

       22.     Plaintiff incorporates all of the allegations and statements made above as if

reiterated herein.

       23.     One or both Defendants violated 15 U.S.C. § 1692e(7) by falsely representing or

implying that Plaintiff committed a crime or other conduct in order to disgrace Plaintiff.

       WHEREFORE, Plaintiff prays for the following relief:
Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 6 of 8 PageID #: 98




               a.      Judgment against Defendants for Plaintiff’s actual damages suffered as a

                       direct and proximate result of either Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendants for $1,000 in statutory damages for either

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                            COUNT V

       24.     Plaintiff incorporates all of the allegations and statements made above as if

reiterated herein.

       25.     One or both Defendants violated 15 U.S.C. § 1692e(10) by using a false,

deceptive or misleading representation or means in connection with the collection of the alleged

debt and/or to obtain information about Plaintiff.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendants for Plaintiff’s actual damages suffered as a

                       direct and proximate result of either Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendants for $1,000 in statutory damages for either

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);
Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 7 of 8 PageID #: 99




               c.     Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees and

                      costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT VI

       26.     Plaintiff incorporates all of the allegations and statements made above as if

reiterated herein.

       27.     One or both Defendants violated 15 U.S.C. § 1692f by using an unfair or

unconscionable means to attempt to collect the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

               a.     Judgment against Defendants for Plaintiff’s actual damages suffered as a

                      direct and proximate result of either Defendant’s violations of the FDCPA,

                      pursuant to 15 U.S.C. §1692k(a)(1);

               b.     Judgment against Defendants for $1,000 in statutory damages for either

                      Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                      §1692k(a)(2)(A);

               c.     Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees and

                      costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all issues in this action, except for any issues relating

to the amount of attorneys’ fees and litigation costs to be awarded should Plaintiff prevail on any

of her FDCPA claims in this action.
Case 1:14-cv-01372-JMS-MJD Document 27 Filed 12/30/14 Page 8 of 8 PageID #: 100




                                              RESPECTFULLY SUBMITTED,


                                              KATHY MCCARTER f/k/a KATHY COFFMAN

                                              By: /s/ David P. Leibowitz



 David P. Leibowitz
 Attorney for Plaintiff
 Illinois Attorney No. 1612271
 (Licensed in Southern District of Indiana)
 Allen Chern Law LLC
 25 E. Washington Street
 Suite 400
 Chicago, IL 60602
 Phone: (877) 352-8292
 Fax: (866) 359-7478
 dleibowitz@uprightlaw.com
